Case 1:20-cv-01858-RLY-DLP Document 1-1 Filed 07/10/20 Page 1 of 8 PagelD #: 4

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

INDIANA OFFIGER'S STANDARD CRASH REPORT vege | 1 ' 5
; # Electronic Version
i Sy, 903262922 Loeal ID
— 201800372852
Dete ofCrash | Day of Waok | Actual Local Tima County Township #Motor | #injured | #Dead | #Commereial | # Deor
| Vehicles Vehicles
WH72018 | Sal 7:49 AM HENDRICKS | GUILFORD 3 4 0 4 0
Road Crash Occurred On Nearest ntersecting Road/MileMarkerinterehange Ifnot an intersection, | Direction Road Classification
— number of feat from
170 645 KTERSTATE
Inside Comorate Limits? CityfTown or Nearest City/Toun Property? Crash Latitude Crash Longitude
YES PLAINFIELD(HENDRICKS)
Driver #4 Driver #2 Driver #3 Driver #4
MCCLURE.ROSA.M HANEY. DONALD.P PALOMING.FLORENTINO.S
a | 8
aif a | | Area Information
2 ~~ am + > r aA we
22243 23393
e223 5 E23 23 Hit and Run NO
Driver Contributing Circumstances Vehicle Cantributing Circumstances
= bt ead fe Alcoholic Beverages CO Engine Failure or Defective School Zone NO
= _ Magal Drugs Are alarator Failure or Defactn
| tt Eisssupiion Drugs I Brake Failure or Defective Rumble Strips NO
Driver Asleep or Fafigued Tire Failure or Defective
pas RSs} por, pe Pam
a eo Driver Illness a Headlight(s) Defective or Not On | Locality
LJ LIL] LI] 1) Unsafe Speed | Othor Lights Defective RURAL
|_| PL Failure to Yield a Steering Failure Light Condition
= a Disregard Signal _ Win dowlWlindshield Defective DAYLIGHT
= aia Loft of Center ; _ Oversizs/Overweight Load Weather Conditions
| Improper Passing a InsecareiLeaky Load CLOUDY
= td Improper Turning _ Tow Hitch Failure _
= hoproper Lane Usage a Other Surface Condition
) 2) Ey  Fottossing T00 ciosety 7 Mone Bist
_| |} {J LL) unsafe Backing Environment Contributing Clreumstances Type of Median
= J LL} Overtorrecting = = Glare
= ed dt Ran off Road a = Roadway Surface Type of Roacway Junction
a bs) baad fa Wrong Way an DneWay | a Holes/Ruts in Surface NO JUNCTION INVOLVED
a a) Pedastrian's Action J | Shoulder Defective Ragd Gharcier
a LL Passenger Distraction a J Road Under Construction STRAIGHTHILLCREST
Ld Ld fa Restriction Viclation = Severe Crosswinds
nl Jackkmifing r Obstruction Not Marked Roadway Surface
|] [F) cat Phone usage T [_] [_] Lane tering Obscured ASPHALT
a Other Telematics = View Obstructed Construction If Yes, Construction Type
717171 71H river distracted | [| [E] Arimatrobject in Roadway NO
| _ SpeedMeather Conditions |_| |_| Traffic Cti IncpiMissingiObscure [| ratic Contre! Devices
i} a) ad Unsafe Lane Movernent a = Ulilily Work LANE SONTROL
Other J Other
— pe pay
(7) [v7] _] None f bw] Mons Traffic Cantrel Device Operational? =NA
Total Estimate of all damage in the Crash:
Was thi h the result of aggressive driving? NC
$50001 TO $100002 es “38
Other Property Damage (1) State Property |Owner’s Name and Address
Other Property Damage @) State Property [Owner's Name and Address
Witness/Other Participant Non-Motorist
| Witnass i@ |Nane [Last Name, First Name, Ml)
[| Cther Participant | 1 | YOHN WADE
Address etc. Non Motorist Type Non-Metorist Action
§877 GADSEN DR PLAINFIELD IN 46158
Phone # Location at Time of Crash Apparent Physical Condition
2176168236 DIRECTLY BEHINC YEHICLE 2
Witness \@  |Nane Cited? Direction
Other Participant |
Addtess etc. StreetHighway
| Phone # Location at Tana of Crash Traffic Control? If yes, was traffic contro! operational?

 

 

 

 

 

 

 

 
Case 1:20-cv-01858-RLY-DLP Document 1-1 Filed 07/10/20 Page 2 of 8 PagelD #: 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

<I 903262922 Page 2 ef 8
201&00372552
Type of
Cc Th REAR END
Tims Netified Time Arrived Other Location of Investigation
_ 7:50 AM 7:55 AM SEE NARRATIVE

Assisting Officer IDNo. Agency Investigation C omplete?| Photos Taken?
TR? HOBBS 7560 SP INDIANAPOLIS 52 YES YES
Assisting Offic a ID No. Aguucy Date of Repuil

__ 1117/2018
Investigating Officer IDNo. Aganoy Raviowing Officer
MLLER, J 1572 SF INDIANAPOLIS 52 7572
Narrative

On 11/17/2018, | began this crash investigation.
Location: Interstate 70, wesibound, 64.5 mile marker, Plainfield Indiana, Hendricks County.
Weather and Traffic: No weather or traffic issues prior to incident.

Prior to crash, Vehicle #1 had been stopped on the right shoulder, just before the entrance to the westbound rest park
al the 64.5 mmon|-70. The Driver and Co-Driver of vehicle #1 were taking a 30 minute break and changing from
one driver to the other. After completing their 30 minute break, Driver #1 began to slowly roll out to continue
westbound on I-70. Vehicle #1 had their flashers on, but Driver #1 chose not to drive into the rest park via the entry
lane. Driver #1 decided to cross over the marked entry way lane and onto the primary roadway shoulder. The
shoulder of I-70 at this location is at the top ofa slight hillcrest and traveling traffic have either a 70 mph speed limit or
a 65 truck limit. After slowly accclerating, with a fully loaded trailor, Vchiclc 1 went approximately 539 ft between
starting from the shoulder to area of impact. Driver #1 decided to merge into the first lane of travel from the shoulder
rather than accelerating into the exit ramp merge lane. This decision along with Vehicle #1 speed and the limited
view of other approaching vehicles created this crash.

Driver #2 was operating Vehicle #2, which was a “wide load” in lane number 1 as he was coming past the rest park
entry.

Driver #3 was operating Vehicle #3, which was overtaking Vehicle #2, on Vehicle #2's left in lane 2.

As Driver #2 was coming up the hill, an unrelated CMV ahead of him in lane 1 made a sudden lane change to lane 2.
The unrelated CMV did so because of Vehicle #1's slow speed and decision to merge into maving traffic at such a
slow speed and from the shoulder. Due ta the sudden awareness Driver #2 had to Vehicle #1's lane movement into
his lane and the fact that Vehicle #3 had not yet finished passing Vehicle #2 on the left. Driver #1 tried to swerve to
the left in a attempt to avoid a straight on rear end collision with Vehicle #1. Vehicle #2 struck the back of Vehicle #1
in an offset manor which destroyed the right side of the tractor unit of Vehicle #2. As Vehicle #2 made contact with
Vehicle the trailer of Vehicle #1, the tractor unit of Vehicle #2 side swiped the trailer of Vehicle #3, causing trailer and
tire damage to Vehicle #3. The post crash debris field was approximately 330 ft long and covered both lane 14 and
the rest park exit acceleration lane.

Witness #1 was directly behind Vehicle #2 coming past the rest park. Witness #1 stated that Vehicle #2 was only
going about 60 mph prior to the crash due to the other traffic around and that he saw Vehicle #1 just come straight
out of the shoulder into the travel lane with no attempt to use the paved merge lane meant to allow exiting vehicles to
speed up prior to entering lane #1.

Enforcement Action: Driver #1 was cited for "unsafe lane movement" - Infraction

Driver #2 was taken to Hendricks Regional Hospital for head lacerations and treated and released. | spoke to him at
the hospital as part of my investigation.

Vehicle #1 had trailer damage that made it unsafe to use further and was escorted to Curtis Wrecker, Little Point,
Indiana along with Vehicle #2, which required towing.

 
Case 1:20-cv-01858-RLY-DLP Document 1-1 Filed 07/10/20 Page 3 of 8 PagelD #: 6

Narrative Continued... Page 3 ot 8

Vehicle #3 had two flat right side tandem tires on the trailer unit, they remained on scene, on the shoulder with three
triangles out, as their company was contacting a tire service for roadside repairs. Vehicle #3's final rest is not shown
due to the stopping distance from the area of impact.

 
Case 1:20-cv-01858-RLY-DLP Document 1-1 Filed 07/10/20 Page 4 of 8 PagelD #: 7

 

UNIT INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Loca 1D 903262922 Page 4 ot 8
201800372552
Driver's Name (Last, First, Mi) Safety Equipment Used
2 |MCCLURE, ROSA, M LAP + HARNESS
Address (Street, City, State, Zip) Safety Equipment Effective?
2104 N HANCOCK AVE YES
> Ejection’ Trapp ed
ODESSA ™ 7761 pat EJECTED OR TRAFFED
Date of Birth Age Gender EMS No. immed Attn Driver Injury Status
14102/1966 52 FEMALE ND
Driver's License # Lic Type CDL Class | Lie State |Naturo of Most Sovore Injury i
75866844 cn A ™
Agparent Physical Status Restrictions Location of Most Severe Injury
Hormal Glasses/ContactLenses O Employer's Vehicle Only
Had Been Drinking - Outside Rearview Mirror - State-Onned Vehicles lt Clted? IC Codes
Handicapped Daylight Driving PP Chauffeurs Taxi Only . 9-21-8-11.5
ul Automatic Transmission Power Steering miracaory
AsiceplF atigued Special Controls Special Restiictions O Misdemeanor
Drugs!Medieation Employm ent Only Probation DWI O Felony
Unknown Motoreyrie Only Prohation HTO
C) ToiFrom Employmont C] Nono
Test Given Type Given
NONE Blood ["] Urine [~] Breath [ | gst [| Pat
Alcohol Results Drug Results
Cartified ,
PBI Test (] Penuing
Veh# Color Vehicle Veal Make Model Bile initial Impaet Area
4 RED 2008 KENWORT4 Té00 ce oO Undercarriage
4 Occupants Lic Year | License # License State Trader g
2 2019 RIS85 19 TX CL Nene oe
# Andes | Speed Limit] Insured By Phone Number oO riknovm
3 85 | TRISURA SPECIALTY IN3 COMPANY 8003699010
Vehicle Idantificationt Areas Damaged (Multiples)
1XKAD 49X40 3228898 J Undercarriego
Registared Owner's Namo (Last, First, MI) L] Same ac Driver Traler 5
AXIS SOLUTIONS INC (J wone
Address (Street, City, State, Zip) O fis
$701 PAN AMERICAN SUITE C oes
EL PASC T™ 7927 Vehicle Use
Tow? [To = 0 t—<CsSCi‘“SCS~™S Tue to Disabling Damage COM MERCIAL(TAXIS COMMON, CONTRACT)
NO |By Emergency Run? Tire?
Lis State | Lic Year |Rogistored Owner's Nano (Last, First, El) | Same as Uriver NO
la ™ 2018 |AXIS SOLUTIONS INC _.
License® Address (Street, City, State, Zip) ice Type
1130550 PO BOX 874 TRACTORAONE SEM! TRAILER
Veh Year) Make Pre-Crash Vehicle Action
90416 |UTILITY CLINT TX 79836
(ie Statey| Iie Year |Registered Owners Nane (Last, First, fa) L_] Sane as Driver ENTERING TRAFFIC LANE
| Direction of Travel
License# Address (Street, City, State, Zip) WEST
Veh Year| Make | Typo of PrimarySec ondary Roadway
oO One Way Road O Two! anes - Twa Way
Commercial Vehicle: Carrier's Hame and Address
1 | AXIS SOLUTIONS ING CO One Lane - One Wey Multi-Lane Divided (2 ormore) - Two Way
220 PAN AMERICAN DR O Two Lanss - One Way Oo Multi-Lane Undivided Two Way Left Turn
[_] Multi-Lanes (3 ormore)-OneWay [_] Mulli-Lane Undivided 8 or mera) - Two Way
EL PASO T™ 7836 | Multi-Lane wi Grass Medien Only OO Multi-Lane w/ Concrete Bartier
HAZMAT Proper Shipping Name: State DOT# (CJ Multi-Lans w! Cantar Turn Lane (CD) Mutti-Lane w! Meta! Guardrail Madian
— “om CHVTeaece ves (LJ Multitane wf Curb Raised Median [_] Private Drive CD Altey
Inspection
(000666640 NO oO Multi-Lene wi Cable Barer O Ramp
Gross Vehicle Weight Rating Cargo Body lype Event Collision With
26 ,001# OR MORE VAN/ENCLOSED BOX 1. ANOTHER MOTOR VEHICLE

 

 

HAMA! Placard [HAPMAT Release of Garge HAZMAT DighttIDe| Hazzard Class #
NO

 

 

 

 

 

 

 

 

 
Case 1:20-cv-01858-RLY-DLP Document 1-1 Filed 07/10/20 Page 5 of 8 PagelD #: 8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UNIT INFORMATION
Lord D 903262922 Page 5 ot 8
201800372552
Driver's Name (Last, First, Mi Safely Equipment Used
3. |HANEY, DONALD, P LAP + HARNESS
Address (Street, City, State, Zip} Safety Equipm ent Effective?
€16 SEMINOLE CREEK CT YES
; ‘i Ejection! Trapp ed
LEXINGTON KY 4c5it pe EJECTED OR TRAFFED
Date of Birth Age Gender EMS No. Inmed Attn Driver Injury Status
14/01/1958 C MALE 173 YFS INGAPACITATING - TRANSPORTFN
Driver's Licenac ¢ Lic Type GDL Class [Lie Stato |Naturo of Most Sovore Injury : ama!
AGAoGs 720 cD A NO |SEVERE BLEEDING
Agparent Physical Status Restrictions Location of Most Severe Injury
Normal CL] Glasses/ContactLenses O Employer's Vehicle Only {HEAD
Had Been Drinking Outside Rearvieur Wlirror State-Onned Vehicles if Cited? IC Codes
Handicapped Daylight Driving PP Chaaffeurs Taxi Only .
il Automatic Transmission Pewer Steering O saemractior)
AsleepiF atigued Speck Controls Special Restrictions oO Misdemeanor
Drugs!Madieation Employment Only Probation DWI | Felony
Unknown Motoreyrle Only Prohation HTO
[_] TeiFrom Employment [4] None
Test Given Type Given
NONE Blood [| Urine [7] Breath [| sest [| pat
Alcohol Results Drug Results
Cartified ;
PBI Tast [J Pending
Veh? Color Vehicle Yeaq Make Model 2 | intial mpact Area
2 WHITE 2005 KENWORT4 900 CO oO Undercarriage oO
4 Occupants Lic Year | License # License State Trales E sg
1 2019 M3627 NS 5 None = CO 0 oS
# Axles | Speed Limit|Insured By | Phone Number oO Unknown CO O
3 85 GREAT WESTERN IhS | 024947448
Vehicle Identification Areas Damaged (Multiples)
4XKWDBSX65J085149 oO Undercarriege . | .
Registered Owner s Name (Last, First, Ml) LI Same ac Driver im Traller 2 oO 2
SILVER 3ULLET EXPRESS INC Oo None as o
Address (Street, City, State, Zip) Oo a:
132 EAGLES RIDGE RD nance
SYLVA NC 28773 Vehicte Use
Towed? |To LITTLEPOINTINDIANA =———~*~<C«~*‘:™*«*SO to Disabling Damage |COMMERCIAL(TAX 1S, COMMON, CONTRACT)
YES |8y CURTIS WRECKER YES Emergency Run? Tire?
Lio Stato] Lic Year [Rogistcred Ownor's Name (Last, First, tl} oO Same as Uriver NO
2a OK 2019 |SILVER BULLET EXP?ESS INC _.
License? Address (Street, Cify, State, Zip) icle Type
ADES72 432 EAG.ES RIDGE RD TRACTOR/ONE SEMI TRAILER
ers REIT SYLVIA | NC 23779 Pre-Crash Vehicle Action
Ue State] Lic ¥ Tear |eaited Owners Name (ast, First 10 [| Saneas Driver GOING STRAIGHT
| Direction of Travel
Licenss# Address (Street, City, State, Zip)
— WEST
Wah Year| Make | Tyne of PrimaryiSec ondary Roadway
oO One Way Road oO Two | anes - Two Way
Commercial Venicle: Carriers Name and Address ; .
2 | SILVER BULLET EXPRESS INC oO One Lane - One Way Y Multi-Lane Divided 2 ormore) - Two Way
Two Lanes - One W Multi-Lane Undivided Two Way Loft Turn
¢54 SCUTHERN HILLS DRIVE [ svkaaee neler 0
O Multi-Lanes (3 ormore) - One Way oO Multi-Lane Undivided @ or mera) - Two Way
RICAMOND KY 4C475 Oo Multi-Lane wi Grass Modian Only Oo Multi-Lane wi Concrete Bartier
HAZMAT Proper Shipping Name: State DOT# (CJ Multi.Lans w/ Canter Turn Lana [LJ Multi.Lane wi Meta’ Guardrail Median
i- i i Private Dri Alle
US bOTF CCH CHV Inspection Yes 0 Multi-Lane w/ Curb Raised Median oO viv ve oO y
002083997 NO oO Mulli-Lane wi! Cable Bartier oO Ramp
Gross Vehicle Weight Rating Cargo Body lype Event Collision With
26,001# OR MORE FLATBEC 1. ANOTHER MOTOR VEHICLE
| HEHIAT Placard [HAZMAT Release of Carge [HAPMAT (Digit D+ | Hazzard Class #
NO |

 

 

 

 

 

 

 
Case 1:20-cv-01858-RLY-DLP

Document 1-1 Filed 07/10/20

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UNIT INFORMATION .
Loca D 903262922 Page 6 ot 8
201800372552
Driver's Name (Last, First, Wi) Safety Equipment Used
4 |PALOMINO, FLORENTINO, S LAP + HARNESS
Address (Street, City, State, Zip) Safety Equipment Effective?
€03 W 1ST YES —
: > Ejection! Trapp ed
KRESS ™ 7052 NOT EJECTED OR TRAFFED
Date of Birth Age Gender EMS No. immed Atn Driver Injury Status
03/23/1965 53 MALE ND
[Driver's License # Lic Type GDL Class [Lie State |Naturo of Most Scvore Injury
1181° C55 cn A TX
Agparent Physical Status Restrictions Location of Most Severe Injury
Normal | Glasses/Contact Lenses O Employer's Vehicle Only
Had Been Drinking Outside Rearview bllrror State-Onned Veliicles I Clted? IC Codes
Handicapped Daylight Driving PP Chauffeurs Taxi Only .
Ml Automatic Transmission Power Steering O inttactoni
AsleepiF atigued Speck Controls Special Restrictions O Misdemeanor
Drugs!Medieation Employm ent Only Probation DWI O Felony
Unknown Matsreyrie Dnby Prohation HTO:
Cc) ToiFrom Employment ] Nonc
Test Given Type Given
NONE Blood [] Urine [] Breath [| srst [| pet
Alcohol Results Drug Results
Cartified .
PBI Test CO Pending
Veh? Color Vehicle Yeaq Make o Style | initial impact Area
3 BLUE 2019 FRIEGHTLIN=R UNK CC oO Undercarriage
4 Occupants Lic Year License # License State Tle §
2 2019 Weizis NE C] None
# Axies | Speed Limit} Insured By Phone Number O Onkiiewn
3 65 | ACE AMERICAN INSURANCE CO 8004318216
Vehicle Idantification# Areas Damaged (Multiples)
SAKJIL IDR4KSKIS075 oO Undorcartiage
Registered Owner's Name (Last, First, Ml) [J Sameae Driver | (7) trator 5
WERNER ENTERPRISES INC Oj Nano
Address (Street, City, State, Zip) Oo tid
14507 FRONTIER RD bated
OMAHA NE 628138 Vehicts Use
Towed? |To a — a [Due to Disabling Damage |COM MERCIAL(TAXIS, COMMON, CONTRACT)
NO _|8y | Emergency Run? Tire?
Lic State| Lic Year [Registered Ownor's Name (Last, First, fl} oO Same as Utiver NO
3a NE 2018 |WERNER ENTE3PRISES INC =
License# ‘Address (Street, City, State, Zip) icle Type
28219W 44507 FRON I= RD TRACTOR/ONE SEMI TRAILER
Se NANG OMAHA NE 68138 |Pre-Crash Vehicle Action
Lie State] Lic Year [Registered Owner's Name Cast First (1) |] Same as Driver GOING STRAIGHT
\ Direction of Travel
Licenss# Address (Street, City, State, Zip) weer
Veh Yoar| Make | | Type of PrimaryiSec ondary Roadway
— oO One Way Road O Two! anas - Twa Way
Commercial Vehicls: Carrier's Name and Address . .
a WERNER ENTERPRISES INC CO One Lane - One Wey Multi-Lane Divided (2 ormore) - Two Way
Lanes - One WW Multi-Lane Undivided Two Way Loft Turn
44507 FRONTIER ROAD LL) two Lanes - one ttay O ™
oO Multi-Lanes @ ormore) - One Way oO Multi-Lane Undivided @ or mora) - Two Way
OMAKA NE 68128 (LC) Multi-Lane vi Gress Medien Only (CF) Mutti-Lane wi Concrete Bartier
HAZMAT Proper Shipping Name: State DOT# [DJ Multi-tanew/ Center Tum Lana = [_] Multi-Lane w! Meta’ Guardrail Median
H ised Medi Private Dri All
Ue DOT coe CHV Inspection Yes oO Multi-Lane wi Curb Raised ian | iw ve oO ley
(000083467 NO T] Mulli-Lane #/ Cable Bartier O Ramp
Gross Vehicle Weight Rating Cargo Body lype Event Collision With
26,001# OR MORE VAN/ENCLOSED BOX 1. ANOTHER MOTOR VEHICLE
HACMAT Placard [HAZMAT Release of Carge HAZMAT CDigttIDe| Hazzard Class #
NO

 

 

 

 

 
Case 1:20-cv-01858-RLY-DLP Document 1-1 Filed 07/10/20 Page 7 of 8 PagelD #: 10

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Case 1:20-cv-01858-RLY-DLP Document 1-1 Filed 07/10/20 Page 8 of 8 PagelD #: 11

----User Attributes----

User Name = Independent Crawfordad}j

Racf Identifier = ICRAWF1

User Identifier = ICRAWF1

Email Address = Crawford Adjustors@gwccnet.com
Web Key Type = IAD

Web Key Code =

Agency Name =

Agent Number =

Company Name =

Web Operator Identifier =

----Form Parameters----

claimDocumentComments =
claimDocumentDate = 11/27/2018
claimDocumentType = 130
claimDocumentType SELECT = 130
claimLossState = IN

claimNumber = P24604

claimType = L

claimUserReference =
fileContentType = application/pdf
fileName = 3342899 PR (002) .pdf
insuredName = SILVER BULLET EXPRESS INC
upload = Upload selected file
